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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,                    F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT
                            September 30, 2021




                                        /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 650 Poydras Street Suite 1525
                                 New Orleans, Louisiana 70130
                                 Telephone: 504-586-5253
                                 Fax: 504-586-5253
                                 amills@millsamond.com
                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
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Introduction

       For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

       On June 22, 2018, the Court appointed me receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available to victims. I have undertaken these tasks with
substantial assistance from my counsel, including principally Brent Barriere, Lilli Bass, and
Kristen Amond. Earlier this year, we distributed more than $17 million to victims, but we still
have a long way to go.

       The Court’s order of appointment instructed me to report to the Court every 60 days, but
recently the Court authorized me to report quarterly, or approximately every 90 days, instead.

       I filed my last report on June 30, 2021, and this report picks up where that report left off.
It contains the following parts:

                                                                           page
                  Highlights                                                 3
                  Criminal cases’ status                                     6
                  Civil cases’ status                                        6
                  Next 90 days                                              13
                  Summary of status of assets                               14


       My reports are for the Court’s benefit, but I write them for a broader audience, knowing
that they may be read by non-lawyers including victims. All of the filings mentioned in my reports
are available at madisontimberreceiver.com.




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Highlights

       I previously reported that, after three years, the Receivership Estate has sold or otherwise
resolved its interests in any property or real estate belonging to Adams or Madison Timber. Going
forward I will focus primarily on its lawsuits and, with the Court’s permission, file reports
quarterly, or approximately every 90 days.

       Highlights from the past 90 days include:

       July 9, 2021 equitable advance:
       The Court authorized me to set aside $500,000 of the proposed $17,500,000 first
distribution for victims who do not have a Priority 1 loss but who establish a financial hardship.
Following an initial 45-day application period, on July 9, 2021 I made equitable advances to
qualified applications totaling $71,914.61 (substantially less than the $500,000 set aside). As of
September 17, 2021, every check issued to every recipient of a May 17, 2021 distribution or a July
9, 2021 equitable advance had cleared.

       Bill McHenry:
       After the bankruptcy court finally denied McHenry’s petition for bankruptcy, I obtained
writs of garnishment for his known bank accounts and a writ of execution authorizing me to seize
and sell his known property. In addition, I asked the Court for permission to examine him in open
court regarding his assets. That examination will be before Magistrate Judge F. Keith Ball at 9:00
a.m. on November 18, 2021, and anyone who wishes may attend.

       Separately, on August 26, 2021, the S.E.C. announced charges against McHenry for
unlawfully selling unregistered securities.

       BankPlus:
       On July 8, 2021, the Court denied BankPlus’s motion to dismiss the Receivership Estate’s
case against it. BankPlus moved for reconsideration, which of course I opposed.

       In the same case, Martin Murphree and I attended a settlement conference led by Judge
Ball on September 21, 2021. We reached a settlement in principle but as of the date of this report
have not finalized it. I will report any proposed settlement at madisontimberreceiver.com.

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         Progress of cases generally:
         The Court has now denied or otherwise resolved every motion to dismiss filed by every
defendant in the Receivership Estate’s four biggest cases. The cases ought to proceed to discovery
and, finally, trial. The Baker Donelson case necessarily is stayed pending the criminal trial of
Brent Alexander and Jon Seawright, but the UPS and Trustmark cases already have trial dates and
the BankPlus case will soon.

         I have opposed the unnecessary delay of trial in any case. Delay is not in the Receivership
Estate’s interests (among other reasons, many victims are elderly) and there is no just reason for
delay (for instance, the UPS case, which is solely about notaries, is straightforward). I have taken
certain measures to make discovery in all cases more efficient (for instance, I established a virtual
data room for all parties) but nevertheless I anticipate that defendants will seek continuances or
stays.

         On August 10, 2021, The UPS Store, Inc., whose trial currently is set for April 4, 2022,
filed a motion to consolidate all the Receivership Estate’s cases and stay them pending the
resolution of Alexander and Seawright’s criminal proceedings. I do not oppose consolidation for
certain purposes, if it makes discovery more efficient, but what The UPS Store, Inc. seeks is
indefinite delay.

         Judge Ball will decide The UPS Store, Inc.’s motion to consolidate. In the meantime, the
Receivership Estate’s cases are, effectively, paused.

         Victims’ privacy:
         I previously reported that The UPS Store, Inc. issued subpoenas to at least 32 victims of
Madison Timber. I believe the subpoenas are overbroad and heavy-handed, but my primary
concern is that defendants do not intend to treat victims’ personal information as confidential.

         I have asked the Court for protective relief in various motions currently pending before
Judge Ball. Among these, the S.E.C. and I jointly moved for a protective order that would require
any parties to identify victims by numbers instead of names. The U.S. Attorney’s Office separately
has asked that the Court redact victims’ names from any unsealed documents.



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       I will attempt to communicate the outcome of these motions to victims. In the meantime,
please check madisontimberreceiver.com for updates.

       Alexander Seawright:
       On September 2, 2021, the Commodity Futures Trading Commission announced a
registration action against Brent Alexander that seeks to suspend his registration as a commodity
trading advisor based on the criminal indictment against him.

       I told victims who invested in Madison Timber through the Alexander Seawright Timber
Fund that I set aside an amount equal to two-times Alexander Seawright Timber Fund’s proposed
distribution pending a complete accounting. I thank these victims for their patience; a lot has
happened since I last communicated with them in May. I assure them that, notwithstanding the
pending criminal proceedings, I have obtained information regarding their investments from
Alexander and Seawright’s counsel, and a complete accounting is underway.




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Criminal cases’ status

           United States v. Adams, No. 3:18-cr-88

           Lamar Adams is serving a 19.5-year sentence in federal prison.

           On July 13, 2021, The UPS Store, Inc. filed a motion to unseal documents used at Adams’s
sentencing hearing. In its response, filed August 11, 2021, the Government argued “the Court
should not unseal the documents in question unless the victim’s names, victim’s identifiers, and
other sensitive personal information have been redacted.”1 The motion is pending; related filings
are available at madisontimberreceiver.com.


           United States v. McHenry, No. 3:19-cr-20

           Bill McHenry was acquitted on December 5, 2019.


           United States v. Alexander, et al., No. 3:20-cr-31

           On May 20, 2021, the U.S. Attorney’s Office announced the criminal indictment of Brent
Alexander and Jon Seawright for their role in the Madison Timber Ponzi scheme. The indictment
charges them with one count of conspiracy to commit securities fraud and wire fraud; one count
of securities fraud; and four counts of wire fraud involving a scheme to defraud investors.

           A criminal trial is set for January 18, 2022.


Civil cases’ status

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           The S.E.C.’s case against Adams and Madison Timber, filed April 20, 2018, remains open
for the purpose of administering the Receivership Estate’s affairs.




1
    Doc. 55, United States v. Arthur Lamar Adams, No. 3:18-cr-88 (S.D. Miss.).
                                                                                                 6
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        Joint Motion for Protective Order: On June 30, 2021, the S.E.C. and I jointly moved for a
protective order that would require any parties in any of the Receivership Estate’s cases to identify
victims by numbers instead of names.2 The motion is pending; related filings are available at
madisontimberreceiver.com.


        Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
        Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

        The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber.

        Wayne Kelly and Mike Billings settled with the Receivership Estate. Among other things,
their settlement agreements required them to restate their income tax returns for the years in
question, with proceeds of any refund to go to the Receivership Estate. Kelly previously tendered
to the Receivership Estate $304,971.86, following the restatement of his 2018 taxes, and on August
18, 2021, he tendered an additional $32,105.02, following the restatement of his 2017 taxes. After
some initial reluctance, Billings now represents that he is working on doing the same.

        I obtained a final judgment against Bill McHenry in the amount of $3,473,320.3 McHenry
has not paid the judgment. To avoid a judgment debtor examination, he filed a Chapter 7 petition
for bankruptcy, but ultimately the bankruptcy court denied the discharge of his debts.4

        On July 30, 2021, I caused writs of garnishment to be issued to McHenry’s known banks:
First Commercial Bank, Guaranty Bank and Trust Company, Magnolia Credit Union, and First
Bank and Trust.5




2
  Doc. 290, Securities and Exchange Commission v. Arthur Lamar Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
3
  Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
4
  Doc. 54, In re: William Byrd McHenry, Jr., No. 20-ap-22 (Bankr. S.D. Miss.).
5
  Docs. 73, 74, 75, 76, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
                                                                                                              7
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         On August 19, 2021, I moved for a writ of execution authorizing me to seize and sell known
property of McHenry, with proceeds going to the Receivership Estate.6 The Court granted that
motion on September 23, 2021.7

         Also on August 19, 2021, I moved to conduct a judgment debtor exam of McHenry.8 The
Court granted that motion on September 17, 2021.9 Per the Court’s order, the judgment debtor
exam will be held in open court at 9:00 a.m. on November 18, 2021:

         The Judgment Debtor, William B. McHenry (“Judgment Debtor”), is hereby
         ORDERED to appear in open Court at the United States District Court for the
         Southern District of Mississippi, Jackson Division, 501 E. Court Street, Jackson,
         MS, 39201, in Courtroom 5D (Jackson) before Magistrate Judge F. Keith Ball on
         November 28, 2021 at 9:00 a.m. to be examined under oath ….10
Anyone who wishes may attend.


         Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
         Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

         The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. On November 22, 2019, I filed an amended complaint.

         Butler Snow already settled with the Receivership Estate for $9,500,000.

         Baker Donelson, Alexander, and Seawright: The Court denied the defendants’ motions to
dismiss the amended complaint on May 5, 2021.11 On May 28, 2021, Baker Donelson moved for




6
  Doc. 82, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
7
  Doc. 94, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
8
  Doc. 84, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
9
  Doc. 92, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
10
   Doc. 92, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss.).
11
   Doc. 70, Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866 (S.D. Miss.).
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reconsideration, which of course I opposed. That motion is pending; related filings are available
at madisontimberreceiver.com.

           On June 9, 2021, the defendants moved to stay the Receivership Estate’s lawsuit against
them pending the resolution of Alexander and Seawright’s criminal proceedings, and on June 30,
2021, the Court granted that motion. A criminal trial is set for January 18, 2022.

           Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019. On
February 7, 2020, I filed an adversary complaint that objects to the discharge of Seawright’s debt
to the Receivership Estate on the basis that the debt flows from his false pretenses, false
representations, and fraud. The Court denied Seawright’s motion to dismiss the adversary
complaint on March 1, 2021,12 but on July 6, 2021, it stayed further proceedings pending the
resolution of Alexander and Seawright’s criminal proceedings.


           Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

           The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. On January
4, 2021, I filed an amended complaint that names BankPlus’s insurers as defendants.

           None of the defendants has settled with the Receivership Estate.

           Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha,
answered the amended complaint. All other defendants moved to dismiss. On July 8, 2021, the
Court granted Mutual of Omaha’s motion but denied every other defendants’, including
BankPlus’s, motion.13



12
     Doc. 18, In re Jon Darrell Seawright, No. 20-cv-232 (S.D. Miss.).
13
     Doc. 123, Alysson Mills v. BankPlus, et al., No. 3:19-cv-196 (S.D. Miss.).
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           On August 9, 2021, BankPlus moved for reconsideration, which of course I opposed. That
motion is pending; related filings, however, are not available at madisontimberreceiver.com
because BankPlus asked that they be filed under seal.

           On September 21, 2021, Murphree and I, along with our respective counsel, attended a
settlement conference with Magistrate Judge F. Keith Ball. We reached a settlement in principle
but as of the date of this report have not finalized it. I will report any proposed settlement at
madisontimberreceiver.com. In the meantime, Murphree continues to do something that no other
defendant has done: attempt to voluntarily repay the Receivership Estate without any guarantee of
any claims against him. As of this filing, I have received a total of 18 checks, each in the amount
of $800, which I am holding solely as an offset to Murphree’s monetary liability for the
Receivership Estate’s claims against him.


           Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

           The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds.

           None of the defendants has settled with the Receivership Estate.

           The defendants moved to dismiss the complaint not once but twice, and on both occasions
the Court denied their motions, most recently on March 1, 2021.14 On March 29, 2021, the
defendants moved to certify the Court’s order for interlocutory appeal, which of course I opposed.
The motion is pending; related filings are available at madisontimberreceiver.com.

           A jury trial currently is set for April 4, 2022, and the parties are exchanging discovery
which, as the Court observed, “in a case about notarization should not be overly complex.”15 On
September 7, 2021, the Court granted in part my motion to compel The UPS Store, Inc. to, among


14
     Docs. 49, 169, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss.).
15
     Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss.).
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other things, produce documents relating to its franchisor-franchisee relationship with Herring
Ventures, LLC d/b/a The UPS Store (also called The UPS Store Madison).16

           On June 18, 2021, The UPS Store, Inc. issued subpoenas to at least 32 victims of Madison
Timber. I believe the subpoenas are overbroad and heavy-handed. I have asked the Court for
protective relief in various motions, including motions for a protective order, to quash the
subpoenas or otherwise limit their scope, and to seal or redact victims’ names and identifying
information from any documents filed in the Court’s record. Those motions are still pending. I
will attempt to communicate the outcome of these motions to the affected victims. In the meantime,
please check madisontimberreceiver.com for updates.

           On August 5, 2021, Rawlings & MacInnis filed a motion to stay the UPS case, or
alternatively continue certain discovery deadlines, in which it contended that it has requested, and
been denied, the opportunity to review timber deeds currently in the FBI’s possession. I opposed
that motion on the ground, among others, that Rawlings & MacInnis already has an electronic copy
of Madison Timber’s files, which the FBI seized. By agreement the parties extended certain
discovery deadlines pending the motion’s resolution. The motion itself is pending; related filings
are available at madisontimberreceiver.com.

           On August 10, 2021, The UPS Store, Inc. filed a motion to consolidate all the Receivership
Estate’s cases and stay them pending the resolution of Brent Alexander and Jon Seawright’s
criminal proceedings. I do not oppose consolidation for certain purposes, if it makes discovery
more efficient, but what The UPS Store, Inc. seeks is indefinite delay. The motion is pending;
related filings are available at madisontimberreceiver.com.


           Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

           On August 27, 2019, the S.E.C. obtained a judgment against Wayne Kelly permanently
enjoining him from further violations of federal securities laws; disgorging his ill-gotten gains, in




16
     Doc. 293, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss.).
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an amount to be determined; and ordering that he pay civil penalties, in an amount to be
determined.17


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme.

        None of the defendants has settled with the Receivership Estate.

        The Court denied the defendants’ motions to dismiss on March 1, 2021.18 On March 17,
2021, the defendants moved to certify the Court’s order for interlocutory appeal, which of course
I opposed. The Court denied that motion on May 20, 2021.19

        Jud Watkins moved to compel arbitration, which I initially opposed. But rather than litigate
the issue (which risked a time-consuming appeal), on August 23, 2021, I moved to voluntarily
dismiss Watkins from the lawsuit without prejudice to my rights to pursue the same claims against
him in an arbitral forum. The Court granted that motion on September 9, 2021.

        A jury trial currently is set for October 17, 2022, and the parties are exchanging discovery.


        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        On March 3, 2020, the S.E.C. obtained a judgment against Mike Billings permanently
enjoining him from further violations of federal securities laws; disgorging his ill-gotten gains, in




17
   Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
585 (S.D. Miss.).
18
   Doc. 67, Alysson Mills vs. Trustmark, et al., No. 3:19-cv-00941 (S.D. Miss.).
19
   Doc. 94, Alysson Mills vs. Trustmark, et al., No. 3:19-cv-00941 (S.D. Miss.).
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an amount to be determined; and ordering that he pay civil penalties, in an amount to be
determined.20


        Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

        On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
Investments, LLC. The complaint alleges the defendants identified new investors for Madison
Timber, and for each investment made by an investor he personally recruited, each defendant
received a cut of the investor’s payment to Madison Timber. Over time, the defendants received
more than $635,000 in Madison Timber “commissions.” The defendants have all settled with the
Receivership Estate.


        Securities & Exchange Commission v. McHenry, et al., No. 3:21-cv-554

        On August 26, 2021, the S.E.C. announced charges against Bill McHenry for unlawfully
selling unregistered securities. The complaint, which is available at madisontimberreceiver.com,
seeks a judgment declaring that McHenry violated federal securities laws, permanently enjoining
him from further violating federal securities laws, and ordering him to pay civil penalties.


Next 90 days

        Over the next 90 days, I will continue to push each of the Receivership Estate’s lawsuits.
We will respond to motions, file motions as circumstances require, and exchange discovery. I am
still eager to address the subpoenas that The UPS Store, Inc. served on Madison Timber’s victims;
I have asked the Court for relief and await a ruling.

        I will complete the accounting of the Alexander Seawright Timber Fund and make
recommendations as to how to distribute among its victims its share of the May 17, 2021
distribution.

        I will continue to monitor settling defendants’ compliance with their settlement agreements

20
  Doc. 1, Securities and Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-50
(S.D. Miss.).
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and attempt to execute on the judgment against Bill McHenry. I encourage McHenry’s victims to
attend the judgment debtor exam that we will conduct in open court on November 18, 2021 at 9:00
a.m.

       I will continue to review new records as they become available and file new lawsuits
against third parties if new information warrants it. I have obtained tolling agreements from known
third parties as necessary to protect the Receivership Estate’s rights.

       I will continue to confer with federal and state authorities as circumstances require.

       I will continue to communicate with Madison Timber’s victims. They may continue to call,
email, or write me anytime.


Summary of status of assets

       My goal is to pay amounts still due to Madison Timber’s victims under the 485 promissory
notes that they hold. The $17,500,000 first distribution earlier this year was a meaningful first step
but we still have a long way to go.

       The current status of the Receivership Estate’s assets is as follows:


 Receivership Estate’s account at Hancock Bank
 Previous account balance as of June 30, 2021                                                 $1,379,861.08
 Interest                                                                                          +$378.94
 Martin Murphree’s voluntary repayments                                                          +$2,400.00
 Wayne Kelly’s additional tax refunds proceeds                                                  +$32,105.02
 Butler Snow—additional proceeds from settlement**                                            +$392,140.36
 Bank fees                                                                                           -$35.00
 Equitable advance to qualified applicants***                                                   -$73,914.61
                                                                                              $1,732,935.79




                                                                                                   14
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Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                  litigation ongoing
Lawsuit to hold law firms liable for debts of the
Receivership Estate

Settlement—Butler Snow                                                received $9,500,000


Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                     litigation ongoing
Lawsuit to hold bank and financial services company liable
for debts of the Receivership Estate

Martin Murphree’s voluntary repayment of his debt to the                holding $14,400
Receivership Estate, 18 installments of $800.00 each to
date*

Alysson Mills v. The UPS Store, et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership
Estate

Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                    litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership
Estate

Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427
Lawsuit to recover commissions from recruiters

Settlement—Stuart Anderson                                       promissory note in the original
                                                                  principal amount of $130,520
                                                                           outstanding

Settlement—Randy Shell                                           promissory note in the original
                                                                  principal amount of $505,114
                                                                           outstanding

Alysson Mills v. Michael Billings, et al., No. 3:18-cv-679
Lawsuit to recover commissions from recruiters

Judgment—Bill McHenry                                           $3,473,320 judgment outstanding




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Settlement—Mike Billings                                    received $325,000
                                                    plus 5% interest in Oxford Springs,
                                                                   LLC

                                                     received $187,500 in satisfaction
                                                            of promissory note

                                                           duty to restate taxes,
                                                        with 90% of any refunds to
                                                            Receivership Estate

Settlement—Wayne Kelly                                    received $1,384,435.17
                                                      plus interests in 707, 315 Iona,
                                                         and KAPA Breeze, LLCs

                                                    received $100,000 in satisfaction of
                                                              promissory note

                                                     received $304,971.86 in proceeds
                                                          from federal tax refund

                                                     received additional $32,105.02 in
                                                     proceeds from federal tax refund

Settlement—Brad Pugh                                  promissory note in the original
                                                     principal amount of $183,002.66
                                                                outstanding

1/4 interest in Mash Farms, LLC                       received $258,500 in proceeds
808+ acres with hunting camp in Sunflower County   from sale of the Receivership Estate’s
Purchased in 2014 for $1,600,000                                   interest
Encumbered by Trustmark Bank mortgage
Owe approximately $900,000

100% interest in Oxford Springs, LLC                received $4,668,530.48 in proceeds
Undeveloped land in Lafayette County                      from sale of 2,278 acres
Sold 2,278 acres; 100 acres remain
Unencumbered                                         received $539,193.90 in proceeds
                                                           from sale of 100 acres




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1/6 interest in 707, LLC                                LLC sold principal asset and dissolved;
263+ acres recreational land in Holmes County              tendered $6,994.09 representing
Purchased in 2009                                          Adams’s, Kelly’s, and McHenry’s
Encumbered by First Commercial Bank mortgage              interests to the Receivership Estate
Owe approximately $368,000

1/3 interest in Delta Farm Land Investments, LLC        LLC sold principal asset and dissolved;
1170+ acres farmland in Oktibbeha County                  tendered $323,440.88 representing
Purchased in 2014 for $2,796,100                         Adams’s interest to the Receivership
Encumbered by Trustmark Bank mortgage                                   Estate
Owe approximately $2,200,000

1/2 interest in KAPA Breeze LLC                             sold the Receivership Estate’s
1.5+/- acres mixed-use land on Highway 30A in Florida            interest for $700,000
Purchased in 2017 for approximately $1,900,000
Encumbered by Jefferson Bank mortgage
Owe approximately $1,365,000


1/4 interest in Mallard Park, LLC                           sold the Receivership Estate’s
1,723 acres with hunting lodge in Humphreys County               interest for $175,000
Purchased in 2016 for $2,593,500
Encumbered by Southern AgCredit mortgage
Owe approximately $2,000,000

Hartford Life and Annuity Insurance Co. policy               surrendered for $167,206.60

Lincoln National Life Insurance Co. policy                    surrendered for $3,678.45

Settlement—Frank Zito                                             received $100,000,
                                                                    first installment

                                                                 received $100,000,
                                                             second and final installment,
                                                                    June 12, 2019


Settlement—Ole Miss Athletics Foundation                        received $155,084.50,
                                                                   first installment

                                                                received $155,084.50,
                                                             second and final installment,
                                                                    April 17, 2019


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 Marital Property Settlement—Vickie Lynn Adams                              received $58,247
 Lump sum payment includes proceeds from sale of Lexus
 LX 570 and liquidation of Hartford Life and Annuity
 Insurance Co. life insurance policy

 Settlement—Adams children                                                 received $170,000

 Alexander Seawright—UPS’s funds*                                           holding $100,000

 2018 King Ranch Ford F150 truck                                            sold for $42,750

 Condo in Calton Hill subdivision in Oxford, Mississippi                  received $139,919.09
 Unencumbered                                                             in proceeds from sale

 Settlement—Philippi Freedom Ministries                                     received $16,125

 Settlement—Rick Hughes Evangelistic Ministries                           received $43,657.95

 Jewelry                                                                         for sale

 House at 134 Saint Andrews Drive, Jackson, Mississippi                   received $350,777.38
 Unencumbered                                                             in proceeds from sale

                                                                           received $3,277.45
                                                                      from sale of household goods
                                                                             on consignment


 Settlement—Century Club Charities                                          received $56,944

 Settlement—Berachah Church                                                received $175,904

 Settlement—R.B. Thieme, Jr.                                              received $104,626.50

 Settlement—Operation Grace World Missions                                  received $39,325

 Returned proceeds—Techwood, LLC                                           received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the
Hancock Bank account balance.

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*I am holding these funds solely as an offset to the defendant’s liability for the Receivership
Estate’s claims.

** In my last report, I advised that, of the $9,500,000 paid by Butler Snow, Fishman Haygood
transferred $6,000,000 to the Receivership Estate and held $3,500,000 in trust pending resolution
of its motion for attorney’s fees and costs, filed June 2, 2021 and granted July 2, 2021. After
attorney’s fees and costs were paid, $392,104.36 remained.

*** I set aside $500,000 for equitable advances, but I continued to hold it in the Receivership
Estate’s money market account, where it earned interest.
Ultimately, I only needed $71,914.61 for the July 9, 2021 equitable advances. I moved a total of
$73,914.61 ($71,914.61 plus an additional $2,000 to cover bank fees and any adjustments) to the
same institutional checking account I used for the May 17, 2021 distributions.
As of September 17, 2021, every check issued to every recipient of a May 17, 2021 distribution
or a July 9, 2021 equitable advance had cleared. The remaining amount in the institutional
checking account is $1,143.25.




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